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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN


 United States of America,
              Plaintiff,
 v.                                                      No. CR-05-80025
                                                         Hon. Victoria A. Roberts

 Earl Johnson,
              Defendant.



       ORDER DISMISSING MOTIONS UNDER 28 U.S.C. § 753(f) and Rule 6(e)

        On February 12, 2015, pro se litigant Earl Johnson (“Johnson”) filed a motion

 under 28 U.S.C. § 753(f), seeking trial transcripts and other documents. He also filed a

 motion under Rule 6(e) of the Federal Rules of Criminal Procedure on March 12, 2015,

 seeking grand jury materials. Johnson filed these motions to prepare a motion pursuant

 to 28 U.S.C. § 2255. The Court DENIES both motions.

                                 STATEMENT OF FACTS

        On November 8, 2007, a jury convicted Johnson of: (1) conspiracy to commit a

 bank robbery; (2) bank robbery with the killing of Norman Anthony Stephens; and (3)

 murder with a firearm during the course of a violent crime. Johnson was sentenced to

 life in prison. The Sixth Circuit Court of Appeals affirmed his convictions on September

 18, 2009. The United States Supreme Court denied Johnson’s petition for a Writ of

 Certiorari on June 17, 2010.

        Johnson filed a motion seeking documents under 28 U.S.C. § 753(f) in order to

 prepare a motion pursuant to 28 U.S.C. § 2255. He states: the “requested material will

 aid Defendant in filing a non-frivolous writ, in which he seeks relief.” Def.s Mot. 3, ECF

 No. 897. He also filed a motion under Rule 6(e) of the Federal Rules of Criminal

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 Procedure, seeking grand jury materials, to prove a Sixth Amendment “Massiah”

 violation occurred. Br in support of Def.’s Mot. 2, ECF No. 899. Massiah stands for the

 proposition that “a defendant is denied the basic protections of the Sixth Amendment

 ‘when there [is] used against him at his trial, evidence of his own incriminating words,

 which federal agents had deliberately elicited from him after he had been indicted and in

 the absence of his counsel.’” Ayers v. Hudson, 623 F.3d 301, 309 (6th Cir. 2010)

 (quoting Massiah v. United States, 377 U.S. 201, 206, 84 S. Ct. 1199 (1964)).

                                        DISCUSSION

        In these motions, Johnson requests a copy of: (1) his trial and sentencing

 transcripts; (2) the indictment and criminal complaint; (3) out of court statements of all

 adverse witnesses; (4) a transcript of the tape recordings by the Government’s

 informant, Barron Nix-Bey, of incriminating statements made by Johnson’s co-

 defendant, Timothy O’Reilly; (5) FBI 302s (reports of interviews) pertaining to

 conversations with Nix-Bey; and (6) a grand jury transcript of Nix-Bey’s testimony, and

 the dates he testified. Johnson says the requested documents are necessary to prove

 an alleged Massiah violation and prepare his habeas petition.

        In Johnson’s motion under Rule 6(e), he says disclosure of the grand jury

 materials is necessary to prove a Massiah violation occurred. Johnson says Nix-Bey

 deliberately elicited incriminating statements from O’Reilly, “which is clearly a Sixth

 Amendment Massiah violation,” thus outweighing “the need to keep the grand jury

 testimony of… Nix-Bey secret.” Br in support of Def.’s Mot. 1, ECF No. 899.

        The Government only responded to Johnson’s motion under §753(f), saying it

 should be denied because Johnson would now be barred from filing a motion under §



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 2255 since he failed to file the motion within the one year statute of limitations. Gov’t’s

 Resp. to Def.’s Mot., ECF No. 898. Johnson says the doctrine of equitable tolling should

 be applied to set aside the one year statute of limitations, because his counsel told him

 that a § 2255 motion was filed shortly after the Sixth Circuit affirmed his sentence, but in

 fact was not. The Court, however, does not have to make a decision regarding the one

 year statute of limitations or the merits of the motions; Johnson failed to adhere to the

 requirements of 28 U.S.C. § 753(f) and 28 U.S.C. § 2255.

        Johnson cannot obtain documents under 28 U.S.C. § 753(f) for the purpose of

 preparing a case under 28 U.S.C. § 2255. Dorsey v. United States, 333 F.2d 1015,

 1015 (6th Cir. 1964). Such documents include trial transcripts and pretrial records.

 United States v. Lewis, 37 F.3d 1510 (10th Cir. 1994). A habeas petition must be filed in

 order for an indigent petitioner to receive trial documents or other parts of the record

 without cost. Id.

        Defendants are also not entitled to obtain grand jury materials without showing a

 “particularized need” for the materials. Dennis v. United States, 384 U.S. 855, 870, 86

 S. Ct. 1840, 1849, 16 L. Ed. 2d 973 (1966). A particularized need is demonstrated when

 grand jury material is needed to impeach witnesses, test their credibility, and refresh

 their memory. Douglas Oil Co. of California v. Petrol Stops Nw., 441 U.S. 211, 222, 99

 S. Ct. 1667, 1674, 60 L. Ed. 2d 156 (1979). A defendant’s request for grand jury

 materials for discovery does not constitute a particularized need. United States v.

 Reynolds, No. 3:08-CR-143, 2011 WL 6963112, at *2 (E.D. Tenn. June 8, 2011) report

 and recommendation adopted, No. 3:08-CR-143-1, 2012 WL 37525 (E.D. Tenn. Jan. 9,




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 2012). Thus, Johnson is not entitled to discover grand jury materials before filing a

 motion for post-conviction relief. United States v. Tamayo, 238 F.3d 425 (6th Cir. 2000).

        Since Johnson has not filed a § 2255 motion, he is ineligible to receive the

 requested documents under § 753(f) or the requested grand jury materials to prove an

 alleged Massiah violation under Rule 6(e).

        Johnson’s motions pursuant to 28 U.S.C. § 753(f) and Rule 6(e) of the Federal

 Rules of Criminal Procedure are DENIED.

        IT IS ORDERED.

                                                  S/Victoria A. Roberts

                                                  United States District Judge

        Dated: June 26, 2015




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